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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                       §
    In re:                                             §       Chapter 11
                                                       §
    BUZZARDS BENCH, LLC and                            §       Case No. 20-32391-11
    BUZZARDS BENCH HOLDINGS, LLC,                      §
                                                       §       Jointly Administered
              Debtors. 1                               §

                                         NOTICE OF HEARING

             PLEASE TAKE NOTICE that a hearing to consider approval of the bidding procedures, related

deadline and form and manner of notices contained in the Debtors’ Motion for (I) An Order (A) Approving

Bidding Procedures and Certain Bid Protections, (B) Scheduling Bid Deadline, Auction Date, and Sale

Hearing and Approving Form and Manner of Notice Thereof , and (C) Approving Cure Procedures and

the Form and Manner of Notice Thereof; and (II) An Order Approving the Sale of Substantially All of the

Debtors’ Assets Free and Clear of Liens, Claims and Interests [Docket No. 97] will be held on Wednesday,

June 24, 2020 at 4:00 p.m. (Central Time) before the Honorable David R. Jones in the United States

Bankruptcy Court for the Southern District of Texas, Houston Division, at 515 Rusk Street, Courtroom

400, Houston, Texas 77002.



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1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Buzzards Bench, LLC (7898) and Buzzards Bench Holdings, LLC (4637).


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         Respectfully submitted this 10th day of June, 2020.

                                              GRAY REED & McGRAW LLP

                                              By: /s/ Jason S. Brookner
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                                              PROPOSED COUNSEL TO THE DEBTORS

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on June 10, 2020 a true and correct copy of the
foregoing pleading was served via CM/ECF to all parties authorized to receive electronic notice.

                                               /s/ Jason S. Brookner
                                               Jason S. Brookner




4852-6575-9423.1
